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 4
     Attorney for defendant,
 5   KATRINA LUCIUS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,           )               No. CRS 04-0452 WBS
10                                       )
                 Plaintiff,              )               STIPULATION AND ORDER
11                                       )               ADVANCING JUDGMENT
                                         )               AND SENTENCING DATE
12         v.                            )
                                         )
13   KATRINA LUCIUS, et al.,             )
                                         )
14               Defendants.             )
     ____________________________________)
15
     The parties hereby stipulate to the following:
16
        1.      This matter is currently set for judgment and sentencing on April 27,
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                2005, at 9:00 a.m.
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        2.      The parties hereby stipulate that the judgment and sentencing date may be
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                advanced one week. Thus, is hereby requested that the sentencing date be
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                moved to April 20, 2005, at 9:00 a.m.
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         3.     The United States Probation Officer has been advised concerning the new
22
                Judgment and Sentencing date, and agrees to that date.
23
24
        DATED: April 18, 2005              /s/ Tim Warriner
25                                         Attorney for defendant,
                                           KATRINA LUCIUS
26
27      DATED: April 18, 2005              /s/ Michelle Rodriguez,
                                           Assistant U.S. Attorney
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 1
 2
                                              ORDER
 3
            GOOD CAUSE APPEARING, it is hereby ordered that the judgment and
 4
     sentencing date be advanced to April 20, 2005, at 9:00 a.m., and that the April 27,
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     2005 sentencing date be vacated.
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 7   DATED: April 19, 2005
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